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United States Courts
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. Form 1-247 (Rev. 4-1-97)N
SOUTHERN DISTRICT OF TEXAS DEC 06 2011
CORPUS CHRISTI DIVISION

David J. Bradley, Clerk of Court
UNITED STATES OF AMERICA nna

Vs. Case Number: C~ I-] 3t1 mM
Priscilla Raby LOERWALD

AEFIDAVIT FOR MATERIAL WITNESS

BEFORE ME, the undersigned authority, personally came and appeared the undersigned Agent, who being first
duly sworn, deposed, and said:

Testimony of the following persons is material in criminal proceedings against the defendant named above.
Designation and detention as material witnesses is requested for:

Jeaneth SANCHEZ-Gutierrez
Lizbeth MUNOZ-Sanchez
Christian ALCARAZ-Mosso

This material witness is a citizen of Mexico who has admitted belonging to a class of aliens who are deportable,
being illegally within the United States. Should he be released and returned to his native country, he may not be
subject to extradition. Thus, it would be impracticable to secure his presence at such time as the case is called
for trial.

 

Jaméy A Bardette CBP/HSI Agent
Hotheland Security Investigation

SWORN TO AND SUBSCRIBED BEFORE ME this 6 day of December , 2011

  
 
     
 

 

<—UNITED STATES MAGISTRATE JUDGE
Brian L. Owsley

Itis ORDERED this 6 dayof December , 2011, that the above material witness this day brought before
me, be committed to the custody of the United States Marshal pending final disposition of the above
captioned case, in lieu of bail in the sum of $5,000 cash or surety for each material witnes

ED STATES MAGISTR
Brian L. Owsley
